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                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MARYLAND

TRUSTEES OF THE NATIONAL AUTOMATIC SPRINKLER                          )
INDUSTRY WELFARE FUND, TRUSTEES OF THE                                )
NATIONAL AUTOMATIC SPRINKLER LOCAL 669 UA                             )
EDUCATION FUND, TRUSTEES OF THE NATIONAL                              )
AUTOMATIC SPRINKLER INDUSTRY PENSION FUND,                            )
TRUSTEES OF THE SPRINKLER INDUSTRY                                    )
SUPPLEMENTAL PENSION FUND AND ROAD                                    )
SPRINKLER FITTERS AND APPRENTICES LOCAL                               )
UNION 669 WORK ASSESSMENTS, EXTENDED BENEFIT                          )
FUND AND INDUSTRY ADVANCEMENT FUND                                    )
8000 Corporate Drive                                                  )
Landover, MD 20785                                                    )
                                                                      )
                                   Plaintiffs,                        )
                                                                      )
                            v.                                        ) C.A. NO.:
                                                                      )
INDY FIRE PROTECTION, INC.                                            )
PO Box 353                                                            )
North Salem, IN 46165                                                 )
                                                                      )
Serve: John Harnishfeger, Registered Agent                            )
       8138 E County Road 1225 N.                                     )
       Roachdale, IN 46172                                            )
                                                                      )
                                   Defendant.                         )


                                      COMPLAINT

            (FOR BREACH OF COLLECTIVE BARGAINING AGREEMENT,
             TO COLLECT CONTRIBUTIONS DUE TO PLAINTIFF FUNDS
                  AND TO ENJOIN VIOLATIONS OF THE TERMS
                      OF AN EMPLOYEE BENEFIT PLAN)

                                         PARTIES

      1.      Plaintiffs Trustees of The National Automatic Sprinkler Industry Welfare Fund,

Trustees of The National Automatic Sprinkler Local 669 UA Education Fund, Trustees of The

National Automatic Sprinkler Industry Pension Fund, Trustees of The Sprinkler Industry
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Supplemental Pension Fund and Road Sprinkler Fitters and Apprentices Local Union 669 Work

Assessments, Extended Benefit Fund and Industry Advancement Fund (hereinafter "NASI

Funds") are employee benefit plans as that term is defined in Section 3(3) of the Employee

Retirement Income Security Act ("ERISA") of 1974, 29 U.S.C. § 1002(3). Plaintiff Funds are

established and maintained according to the provisions of the Restated Agreements and

Declarations of Trust establishing the NASI Funds (hereinafter “Trust Agreements”) and the

Collective Bargaining Agreement between Sprinkler Fitters Local Union No. 669 and the

Defendant. The NASI Funds are administered at 8000 Corporate Drive, Landover, Maryland

20785.

         2.      Defendant Indy Fire Protection, Inc. is a corporation existing under the laws of

the State of Indiana with offices located in Indiana. Defendant transacts business in the State of

Indiana as a contractor or subcontractor in the sprinkler industry and all times herein was an

"employer in an industry affecting commerce" as defined in Sections 501(1), (3), 2(2) of the

Labor-Management Relations Act, 29 U.S.C. Sections 142(1), (3) and 152(2); Section 3(5), (9),

(11), (12), (14) of ERISA, 29 U.S.C. Sections 1002(5), (9), (11), (12), (14); and Section 3 of the

Multi-Employer Pension Plan Amendments of 1980, 29 U.S.C. § 1001(a).

                                        JURISDICTION

         3.      This Court has jurisdiction of this action under Sections 502 and 515 of the

Employee Retirement Income Security Act, 29 U.S.C. §§ 1132 and 1145, and under Section 301 of

the Labor-Management Relations Act, 29 U.S.C. § 185(a). This is an action for breach of a

Collective Bargaining Agreement between an employer and a labor organization representing

employees in an industry affecting commerce and an action to collect contributions due to employee

benefit plans under the terms of the Collective Bargaining Agreement.


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                                            COUNT I

       4.      Defendant is signatory to a Collective Bargaining Agreement with Road Sprinkler

Fitters Local Union No. 669 requiring contributions to the NASI Funds for each hour of work by

employees performing installation of automatic sprinkler systems.

       5.      Defendant employed certain employees covered by the Collective Bargaining

Agreement during the months of December 2021 through the present.

       6.      Defendant is bound to the Trust Agreements and the Guidelines for Participation

in the NASI Funds (hereinafter “Guidelines”).

       7.      Defendant has failed to make contributions due to Plaintiff Funds for the months

of March 2022 through June 2022. In addition, Defendant failed to submit report forms for these

months. Pursuant to the terms of the Collective Bargaining Agreement, Defendant is obligated to

submit report forms and pay contributions owed to Plaintiff Funds.

       8.      Pursuant to Article VI, Section 6 of the Trust Agreements, when an employer fails

to file the properly completed report forms, in order to determine the amounts due, the Funds are

authorized to project the delinquency amount using the following formula:

               . . . The Trustees may project as the amount of the delinquency the
               greater of the average for the monthly payments actually made by the
               Employer for the last three (3) months for which payments were
               made, or the average of the monthly payments made by the Employer
               for the last twelve (12) months for which payments were made. . .

       9.      Using report forms submitted for the last three months for which the Defendant

submitted reports and contributions to the Plaintiff Funds, the projected delinquency for the

months of May and June 2022 is $27,107.27 calculated as follows:




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                                      Contributions Reported

                                                                   Work      Extended Industry
Month          Welfare Education Pension         SIS       ITF     Asst's    Benefits Advance.

Dec-21         $5,718.10 $93.24    $1,554.00 $1,602.84 $22.20      $259.14   $29.00 $116.00

Jan-22         $3,143.14 $52.92    $894.60      $909.72 $12.60     $281.48   $31.50 $126.00

Feb-22         $3,033.24 $48.72    $823.60      $837.52 $11.60     $451.79    $55.50 $222.00

Avg.
Monthly: $3,964.83 $64.96          $1,090.73 $1,116.69    $15.47 $330.80     $38.67 $154.67
Contrib's

         10.      Defendant’s contributions on behalf of its sprinkler fitter employees for the

months of March 2022 through June 2022 are late.

         11.      Pursuant to the Trust Agreements and the Guidelines, an employer who fails to

pay the amounts required by the Collective Bargaining Agreement on time shall be obligated to

pay liquidated damages as follows:

                   (1)   If payment is not received in the Funds Office by the 15th of
                         the month, 10% of the amount is assessed.

                   (2)   An additional 5% is added if payment is not received in the
                         Funds Office by the last working day of the month in which
                         payment was due.

                   (3)   An additional 5% is added if payment is not received by the
                         15th of the month following the month in which payment was
                         due.

         12.      Pursuant to this provision, Defendant is obligated to Plaintiff NASI Funds in the

amount of $4,689.51 for liquidated damages assessed on the late contributions for the months of

March 2022 through June 2022, plus interest at the rate provided in the Trust Agreements, the

Guidelines and 29 U.S.C. Section 1132(g) from the date of delinquency to the date of payment.

               WHEREFORE, in Count I, Plaintiff Funds pray judgment as follows:


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           A.      In the amount of $27,107.27 for contributions due for work performed in March

2022 through June 2022, plus costs, interest, and reasonable attorneys' fees, pursuant to the

Collective Bargaining Agreement, the Trust Agreements, the Guidelines and 29 U.S.C.

§ 1132(g).

           B.      In the amount of $4,689.51 for liquidated damages assessed on late contributions

for the months of March 2022 through June 2022, plus costs, interest, and reasonable attorneys'

fees, pursuant to the Collective Bargaining Agreement, the Trust Agreements, the Guidelines and

29 U.S.C. § 1132(g).

           C.      For all contributions and liquidated damages which become due subsequent to the

filing of this action through the date of judgment, plus costs, interest, and reasonable attorneys'

fees, pursuant to the Collective Bargaining Agreement, the Trust Agreements, the Guidelines and

29 U.S.C. § 1132(g).

           D.      For such further relief as the Court may deem appropriate.

                                                       Respectfully submitted,

                                                       O'DONOGHUE & O'DONOGHUE LLP
                                                       5301 Wisconsin Avenue, N.W.
                                                       Suite 800
                                                       Washington, D.C. 20015
                                                       (202) 362-0041 – telephone
                                                       (202) 362-2640 – facsimile
                                                       cgilligan@odonoghuelaw.com


                                                By:                               /s/
                                                       Charles W. Gilligan
                                                       Maryland Bar No. 05682

                                                       Attorneys for Plaintiffs

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                                  CERTIFICATE OF SERVICE


           This is to certify that a copy of the foregoing Complaint has been served by certified

mail, as required by 502(h) of the Employee Retirement Income Security Act of 1974, 29 U.S.C.

§ 1132(h) this 5th day of August, 2022 on the following:

           The Office of Division Counsel
           Associate Chief Counsel (TE/GE) CC: TEGE
           Room 4300
           1111 Constitution Avenue
           Washington, DC 20224
           Attention: Employee Plans

           Secretary of Labor
           200 Constitution Avenue, N.W.
           Washington, DC 20210
           ATTENTION: Assistant Solicitor for
                  Plan Benefits Security




                                                                           /s/
                                                     Charles W. Gilligan

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